Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 1 of 79




                                       3:19-mc-05034
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 2 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 3 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 4 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 5 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 6 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 7 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 8 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 9 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 10 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 11 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 12 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 13 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 14 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 15 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 16 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 17 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 18 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 19 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 20 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 21 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 22 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 23 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 24 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 25 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 26 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 27 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 28 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 29 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 30 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 31 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 32 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 33 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 34 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 35 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 36 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 37 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 38 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 39 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 40 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 41 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 42 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 43 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 44 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 45 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 46 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 47 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 48 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 49 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 50 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 51 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 52 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 53 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 54 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 55 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 56 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 57 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 58 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 59 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 60 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 61 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 62 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 63 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 64 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 65 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 66 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 67 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 68 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 69 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 70 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 71 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 72 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 73 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 74 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 75 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 76 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 77 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 78 of 79
Case 3:19-mc-05034 Document 1-2 Filed 09/04/19 Page 79 of 79
